Case 4:22-cv-11107-FKB-DRG ECF No. 18-3, PageID.663 Filed 10/11/22 Page 1 of 3




                       Exhibit B
          Case 4:22-cv-11107-FKB-DRG ECF No. 18-3, PageID.664 Filed 10/11/22 Page 2 of 3
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